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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


BRUCE RUSH,                                       )
                                                  )
               Plaintiff,                         )
                                                  )          No. 19-cv-00738
       v.                                         )
                                                  )          Judge Andrea R. Wood
GREATBANC TRUST COMPANY, et al.,                  )
                                                  )
               Defendants.                        )

                            MEMORANDUM OPINION AND ORDER

       Prior to its December 2016 sale to ICV Partners, LLC (“ICV”), Segerdahl Corp.

(“Segerdahl”) was wholly owned by Segerdahl’s Employee Stock Ownership Plan (“ESOP”).

Plaintiff Bruce Rush represents a class of Segerdahl employees who owned shares in the ESOP.

He alleges that the sale was a sham, rushed through to benefit of a handful of Segerdahl

executives and ultimately resulting in a lower sale price than the company would otherwise have

fetched. For this reason, Rush has sued Segerdahl, its Board of Directors (“Board”), several

individual Segerdahl executives, and GreatBanc Trust Company (“GreatBanc”), which was the

trustee retained to approve the sale, alleging that they breached their fiduciary duties to the ESOP

in violation of the Employee Retirement Income Security Act of 1974 (“ERISA”), 29 U.S.C.

§ 1101 et seq., based on the marketing and terms of the sale. Now before the Court are the

parties’ motions to exclude expert testimony and for summary judgment. For the reasons stated

below, all five motions to exclude or limit expert testimony are denied. The motions for

summary judgment are granted with respect to the diversion claims but otherwise denied.
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                                          BACKGROUND

        I.      Parties and Procedural Posture

        Rush is a former executive for Segerdahl, a direct-mail printer. (Pl.’s Resp. to Segerdahl

SOF (“PRSSF”) ¶ 1, Dkt. No. 245.) Rush has brought this suit against a number of defendants.

Defendants Mary Lee Schneider and Richard Joutras are the “Board Defendants.” Joutras served

as Chief Executive Officer (“CEO”) of Segerdahl until December 2015, after which Schneider

assumed that role. (Id. ¶ 2.) Joutras also served as Chair of the company’s Board from April 2015

until December 2016, and Schneider served on the Board starting in December 2015. (Id.)

Additionally, Joutras was the ESOP’s named fiduciary until 2016, when Schneider succeeded

him. (Segerdahl Resp. to Pl.’s SAF (“SRPSAF”) ¶¶ 1, 33, 55, Dkt. No. 270.)1 Defendants

Rodney Goldstein, Peter Mason, and Robert Cronin, referred to herein as the “Outside Director

Defendants,” are three non-employees who were appointed to the Board in April 2015 and

served until the completion of the company’s sale to ICV in December 2016.2 (Id. ¶ 3.)

Segerdahl, a nominal defendant, was a printing company wholly owned by the Segerdahl ESOP.

(Id. ¶ 4.) And Defendant GreatBanc was the ESOP’s institutional trustee charged with reviewing

and approving the sale. (Pl.’s Resp. to GreatBanc SOF (“PRGSF”) ¶¶ 2, 18, Dkt. No. 244.)

        Rush’s First Amended Complaint (“FAC”) asserts five counts against various

configurations of Defendants. Count I names all Defendants and asserts a claim for breach of

fiduciary duty under 29 U.S.C. § 1104(a)(1). Specifically, Rush alleges that in connection with



1
  Segerdahl Defendants contend that Joutras resigned as named fiduciary. (SRPSAF ¶ 55.) Rush contends
that the Board removed Joutras. (Id.)
2
 Rush disputes that these directors were actually “‘outside’ in the sense of being independent.” (PRSSF
¶ 3.) For purposes of this opinion, the Court offers no opinion on their independence; rather, the
characterization “Outside Directors” is used solely to refer to the fact that they were not Segerdahl
employees.


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the sale process for Segerdahl, Outside Director Defendants and Board Defendants (i) excluded

certain higher-paying strategic buyers in favor of investment buyers that would preserve their

management roles, and (ii) were aware of Schneider’s conflicts of interest yet allowed her to

handle aspects of the sales process. As to Board Defendants, Rush further alleges that they

breached their fiduciary duties by appointing Schneider as a named fiduciary despite knowing

about her conflicts of interest. And GreatBanc allegedly breached its fiduciary duty by approving

a sale that it knew had resulted from a flawed sale process. Rush also alleges that all Defendants

breached their fiduciary duties by diverting ESOP sale funds in the form of payments to

Schneider, Joutras, Paul White (the Executive Vice President of Sales), and Marcus Bradshaw

(the Chief Financial Officer).

       Count II names only Schneider and Joutras, and asserts a claims for breach of fiduciary

duty under 29 U.S.C. § 1104(a)(1) and a prohibited transaction under 29 U.S.C. § 1106(b). With

respect to the former, Rush claims that Schneider and Joutras used their authority to influence the

shopping process in their favor and used their influence to divert ESOP funds to “insiders”

(similar to the diversion claims asserted in Count I). As to the prohibited transaction, Rush

alleges that Schneider and Joutras dealt with the plan’s assets in service of their own interest.

       Count III names only GreatBanc and asserts a claim based on a prohibited transaction

under 29 U.S.C. § 1106(a)(1). Here, Rush alleges that GreatBanc knowingly approved of

Schneider’s prohibited transaction from Count II.

       Count IV names all Defendants and asserts claims for breach of co-fiduciary duties under

29 U.S.C. § 1005(a)(1)–(3). Put simply, to the extent there was a breach of fiduciary duty as

alleged under Counts I, II, or III, Count IV seeks to impute liability for that breach to any other

fiduciary who knowingly participated in or concealed it, failed to comply with their fiduciary




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duties so as to allow it to occur, or knew of it yet failed to reasonably attempt to remedy it. (FAC

¶ 433.)

          Finally, Count V asserts a claim against Schneider and Joutras under 29 U.S.C.

§ 1132(a)(3) for knowing participation in and receipt of benefits from an ERISA violation. Thus,

Rush seeks equitable relief from Schneider and Joutras because they profited from a fiduciary

breach or prohibited transaction with “actual or constructive knowledge of the circumstances that

rendered the transaction unlawful.” Harris Tr. & Sav. Bank v. Salomon Smith Bank, Inc., 530

U.S. 238, 251 (2000).

          Two sets of motions are presently before the Court. The first set consists of five motions

challenging the parties’ respective proffered expert testimony. Defendants challenge three of

Rush’s expert witnesses, moving to exclude the testimony of Daniel Galente and Andrew

Stumpff entirely and to exclude portions of the testimony to be offered by Daniel Van Vleet.

Rush, in turn, seeks exclusion of the expert testimony to be offered by Lee Bloom and Mark

Hahn. In the second set of motions, Defendants seek summary judgment on various claims and

issues raised by the FAC. First, GreatBanc seeks summary judgment in its favor on Counts I, III,

and IV. (Dkt. No. 206.) Second, all Defendants other than GreatBanc (“Segerdahl Defendants”)

seek summary judgment as to the sales claims, i.e., the issues relating to the company’s sale

process, in Counts I and IV. (Dkt. No. 213.) Finally, the Segerdahl Defendants seek summary

judgment as to the diversion claims, i.e., those claims arising from various post-sale payments to

company executives, in Counts I, II, IV, and V. (Dkt. No. 210.) Defendants do not seek summary

judgment on the sales claims in Counts II and V.




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        II.     Facts

        The following facts are drawn from the parties’ submissions pursuant to Local Rule

56.1.3 To the extent there is a factual dispute that is material to the summary judgment motions,

the Court views the facts, and all reasonable inferences from them, in the light most favorable to

Rush as the non-moving party. Grant v. Trs. of. Ind. Univ., 870 F.3d 562, 568 (7th Cir. 2017).

                A.      The Industry and Shopping Process

        This action arises out of the December 2016 sale of Segerdahl to ICV. Rush alleges that

the sale process was a sham, intended to preserve jobs for a handful of executives at the cost of

selling the company for less than fair market value. (FAC ¶ 13, Dkt. No. 77.) Obtaining fair

market value was particularly important because Segerdahl was wholly owned by the ESOP,

which was funded mainly through employees’ 401(k) rollovers. (PRSSF ¶ 18.) Because

Segerdahl was not a publicly-traded company, Stout Risius Ross (“Stout”), an investment bank,

conducted a semi-annual valuation analysis. (Id. ¶ 19.) The main purpose of the valuation was to

determine Segerdahl’s stock value for share redemption. (Id.)

        In April 2015, Segerdahl either started or reorganized its Board—Rush contends that it

was formed for the first time at that point, whereas Segerdahl contends that it had always had a

Board but its members were replaced in April 2015. (SRPSAF ¶ 33.) Either way, the parties

agree that starting in April 2015, the Outside Directors were added to the Board. None of the



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  Rush, GreatBanc, and Segerdahl Defendants each object that the opposing party’s Statements of Fact are
not concisely stated and contain legal arguments. Local Rule 56.1 requires that each statement of material
facts or additional facts “consist of concise numbered paragraphs.” L.R. 56.1(d)(1). The Court does not
find any violation sufficiently egregious as to prevent the Court from properly assessing the extent of the
parties factual disputes. Thus, rather than strike statements of fact, the Court exercises its discretion to
excuse the parties’ excess verbiage. See, e.g., Oxford Bank & Tr. v. Village of La Grange, 879 F. Supp. 2d
954, 960 (N.D. Ill. 2012) (“The Court is capable of disregarding statements or responses that contain legal
conclusions or argument, are evasive, contain hearsay or are not based on personal knowledge, or contain
unfounded, irrelevant, or unsupported assertions of fact.”).



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three were employees, but Rush notes that each had some preexisting connection to Joutras.

(PRSSF ¶ 28.) The three of them, along with Joutras, made up the full Board. (SRPSAF ¶ 33.) In

November 2015, the Board went through its final reconfiguration: Schneider was added as a

member, while Joutras became its Chairman. (PRSSF ¶ 34.)

        During the thirteen years that the ESOP owned Segerdahl, the company’s value increased

over 8,000% (id. ¶ 20), including a 62% jump in value between the end of 2015 and March 2016.

(Id. ¶ 37.) Each employee’s ESOP shares operated as put options, obligating Segerdahl to

repurchase the employees’ shares “when employees terminated, or when their age and years of

service qualified them to diversify their shares.” (Id. ¶ 37(b).) The 62% jump in value increased

the repurchase exposure to around $80 million. (Id.) Rush agrees that the repurchase liability had

increased but further states that the company had financed its repurchase liability in the past and

could continue doing so. (Id.) In April 2016, the Board decided to explore selling the company,

retaining JPMorgan to lead the shopping process with a direction to contact financial buyers as

opposed to strategic buyers.4 (Id. ¶¶ 14, 38.) The parties dispute the extent to which the Board

considered other options before pursuing a sale: Rush contends that the only other option

considered was a restructuring of the ESOP itself, while Defendants claim that the decision to

sell came after considering several options. (Id. ¶ 38.)

        According to Segerdahl, the increased repurchase exposure provided the impetus to

explore a sale; Rush disputes this, again noting that Segerdahl had been successfully financing

that exposure. (Id. ¶¶ 37–38.) For his part, Rush contends that the company faced a more

existential threat than just ESOP payout exposure. He offers Promissory Notes and Stock


4
 “Financial buyers” are those who intend to make an investment, such as private equity purchasers. By
contrast, “strategic buyers” are generally same-industry companies seeking efficiencies, whether vertical
or horizontal. ICV was a financial buyer.



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Purchase Agreements showing that in 2014, Segerdahl redeemed roughly 8,000 ESOP shares

owned by former employees but did not pay out the full amount in cash—instead, 20% of the

value of the settled shares was paid in cash and 80% was in the form of a four-year promissory

note. (SRPSAF ¶ 25.) Later in the sale process, outside counsel warned that the structure might

expose Segerdahl to significant risk, including disqualification of the ESOP and revocation of

Segerdahl’s S Corp. election. (Id. ¶ 27.)5 The day after this warning, Segerdahl—which had just

rejected a $250 million offer from ICV—resumed talks with ICV. (Id. ¶¶ 30–31, 68–69.) The

Segerdahl Defendants dispute that there was any correlation between the two events as well as

the underlying substance of the memo from outside counsel. (Id. ¶ 31.)

        The parties also disagree about why the Board decided not to market the company to

competitors. Defendants contend that strategic buyers were too risky with which to negotiate,

and that the two most likely targets—Quad/Graphics (“Quad”) and RR Donnelley (“RRD”)—

were not in a position to pay a premium for Segerdahl. (PRSSF ¶¶ 10–11.) But Rush presents

evidence that JPMorgan identified five strategic buyers it felt were likely to pay a premium price,

and also that Schneider felt that a strategic buyer would pay over $300 million. (Id. ¶ 9–10.)

Rush contends that the company ignored strategic buyers so that management, particularly

Schneider and Chief Financial Officer (“CFO”) Marcus Bradshaw, could preserve their jobs

despite knowing that this would lower the buying price—and, by extension, the payout to each

employee with a stake in the ESOP. (SRPSAF ¶¶ 2–6.) The Segerdahl Defendants dispute this,

noting not only that management continuity post-sale is a boon to potential buyers, but also that


5
  The Segerdahl Defendants dispute this fact for reasons contained in their Daubert motion challenging
Stumpff’s expert testimony. They argue that there is no evidence that the Internal Revenue Service would
have enforced its rules in this manner. Moreover, Segerdahl argues, if the IRS decided to press the issue,
it would have provided Segerdahl ample opportunity to resolve the issue amicably before taking such
drastic steps as disqualifying the ESOP and revoking Segerdahl’s S Corp election. (SRPSAF ¶ 27.)



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Schneider and Bradshaw had significant financial interests in the sale. (Id.) According to the

Segerdahl Defendants, those financial interests were more concrete than continued employment.

(Id. ¶ 7.)

                B.      The 2016 Sale Process

        Segerdahl’s Board chose to have JPMorgan, led by Jeff Vergamini, lead the sale process.

(PRSSF ¶¶ 30–31.) Rush notes that at the time of Vergamini’s appointment, Segerdahl was not

going through a full sales process; rather, it was negotiating only with Wind Point Partners

(“Wind Point”), a private equity firm. (Id. ¶ 31.) By July 2016, Vergamini and JPMorgan had

contacted eighteen potential financial buyers, eventually receiving indications of interest from

four: ICV, Madison Dearborn Partners, Wynnchurch, and The Stephens Group. (Id. ¶¶ 39, 44.)

ICV’s letter of interest in early July 2016 was for $300 million, which disappointed Defendants

as it did not include any value for a potential sale-leaseback or 338(h)(10) election.6 (SRPSAF

¶ 60.) The Stephens Group and Wynnchurch quickly fell out of the process, although JPMorgan

still considered them active participants so as credibly to represent that there were multiple

bidders, though Rush disputes to what extent JPMorgan considered them active participants.

(PRSSF ¶¶ 45–46.) Rush, for his part, contends that Wynnchurch did more than just fall out of

the process: he claims that it offered a bid higher than the eventual winner, but was rejected

because it was a poor strategic fit, (id. ¶ 45), while the Segerdahl Defendants claim that

Wynnchurch chose not to pursue the transaction of its own volition. (SRPSAF ¶ 60.)


6
 The sale-leaseback transaction would entail selling two Segerdahl plants for an infusion of cash,
followed by a long-term lease with Segerdahl as the lessee and the buyer as lessor. (PRGSF ¶¶ 25(b),
31(h).) A 338(h)(10) tax election “allow[s] a buyer to treat a stock purchase as an asset acquisition for
purpose[s] of raising the depreciable basis of the underlying assets acquired.” (Id. ¶ 25(b).) Segerdahl
ultimately received a $25 million offer on the sale-leaseback, and JPMorgan estimated that, at a sale price
of $265 million, the 338(h)(10) would be worth around $46 million; ICV believed it was worth around
$40.7 million. (SRPSAF ¶¶ 73–74.)



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        During this time, potential buyers conducted due diligence and Segerdahl’s sales lagged

behind the targets contained in the initial pitch material. (PRSSF ¶¶ 46–48.) With this

knowledge, ICV made an offer of $250 million, plus $15 million if Segerdahl’s Earnings Before

Interest, Taxes, Depreciation, and Amortization (“EBITDA”) reached $45 million. (Id. ¶ 49.) But

Segerdahl’s EBITDA was unlikely to reach $45 million, rendering it effectively a $250 million

offer; in any case, ESOP Trustees generally favored cash over earn-outs. (Id.) Insulted by the

offer, Segerdahl ended talks with ICV and shut down its data room. (Id.) Around that time,

Madison Dearborn backed out. (Id. ¶ 50.) Despite alleged disappointment with the offer,

Segerdahl did not reach out to strategic buyers and instead dealt with ICV, now the sole bidder.7

(SRPSAF ¶ 67.) ICV then eliminated the earn-out and submitted a full-price $265 million offer.

(PRSSF ¶ 50–53.) Around that time—Rush contends after the offer—JPMorgan informed ICV

of the potential benefits of a sale-leaseback of two of Segerdahl’s plants and the possible benefits

of a 338(h)(10) tax election. (Id. ¶ 52.) As part of ICV’s offer, Schneider, Bradshaw, and other

executives received long-term employment contracts and option awards with the post-sale

entity—contracts that Segerdahl points out were terminated in 2018 for Schneider and 2019 for

Bradshaw, resulting in forfeited option awards upon termination. (SRPSAF ¶ 77.)

        Rush also points to evidence that the company could have sold for more than $265

million. For one thing, Rush presents his own recollection of a meeting with Vergamini just

before the sale closed during which Vergamini told Segerdahl management that he could have

sold the company for $320 million because he knew the owner of Quad. (Id. ¶ 76.) Segerdahl

vigorously disputes that this occurred, stating that is unsupported, contrary to how a banker

would speak to management, and a misunderstanding on Rush’s part. (Id.) Rush also offers


7
 The Segerdahl Defendants dispute this, but primarily on the grounds that reaching out to strategic buyers
was not optimal rather than disputing the underlying substance.


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evidence that Schneider knew strategic buyers would likely pay more, and that the company

could have followed that course. (Id. ¶ 4.)

                   C.   GreatBanc

        As the trustee charged with approving the deal, GreatBanc reviewed the sale, relying on a

law firm for legal advice and Stout for financial advice, including an Analysis of Transaction

Fairness (“Fairness Analysis”) completed by Stout. Rush also presents evidence that keeping

employees’ jobs at the post-sale entity was a driving goal in selecting a partner, and that

Schneider was aware it could hurt sale value. (GreatBanc Resp. to Pl.’s SAF (“GRPSAF”) ¶¶ 4–

6, Dkt. No. 267.) Defendants vigorously dispute this, pointing out context and business climate.

As to context, they note that by telling employees the sale process sought to protect employees

and their families, Schneider was merely trying to boost morale. (Id. ¶ 5.) And they contend that

there was no purpose in seeking out strategic buyers—to which a sale would likely not result in

preservation of jobs—because the two most likely buyers, Quad and RRD, were not in a position

to purchase. (Id. ¶¶ 4, 6, 11.) Rush also notes that, when Stout conducted its Fairness Analysis, it

did not list obtaining maximum value for the ESOP as a criteria used to select a buyer, but

Defendants contend that such criteria was a given and need not have been explicitly stated as a

goal. (Id. ¶ 3.)

        In addition, Rush raises a number of concerns with GreatBanc’s oversight, all of which

GreatBanc disputes. Rush contends that GreatBanc failed to review some of the compensation

decisions into which Segerdahl had entered (and discussed in greater detail below). He also

contends that GreatBanc missed information about the Outside Directors’ alleged conflicts, as

well as those of Joutras, which GreatBanc flatly denies. (Id. ¶¶ 17–18.) Rush takes issue with the

Company Specific Risk Premium (“CSRP”) that Stout applied in its Fairness Analysis as overly




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subjective, implying that it was unreliable. (Id. ¶¶ 33–34.) And he contends that GreatBanc failed

to account for any benefit from the sale-leaseback or 338(h)(10) election. (Id. ¶¶ 36–47.)

                D.      Management and Compensation

         Also at issue in this case are a number of executive compensation decisions, set forth

below.

                        1.      Reworked Agreements for Executives and New CEO

         Schneider, a former RRD executive, acted as a consultant to Wind Point during

Segerdahl’s earlier negotiations with the private equity firm. (PRSSF ¶ 34.) After that sale fell

through, Segerdahl brought on Schneider as its new CEO; Joutras had been hoping to step down

as CEO and with Schneider’s hire, he transitioned to Chairman of the Board.8 (Id. ¶¶ 26, 34.)

         Schneider’s hiring also prompted a round of contract renegotiations for Joutras,

Bradshaw, and Paul White, the Executive Vice President of Sales (“EVP Sales”). Just before

Schneider became CEO, the Board entered into a new agreement with Bradshaw. However,

Segerdahl introduced the Board’s written consent approving Bradshaw’s transaction bonus (as

well as the other compensation adjustments). (SRPSAF ¶ 46.) Bradshaw’s agreement doubled

his salary if he was terminated without cause before Schneider took over as CEO and added a $1

million bonus if Segerdahl closed a sale by the end of 2016. (PRSSF ¶ 55.) Joutras signed

Bradshaw’s agreement about two weeks before Schneider became CEO. (SRPSAF ¶ 46.) Rush

disputes the extent to which the Board approved Bradshaw’s agreement, noting that the record

merely reflects that they discussed it. (Id. ¶ 55.)



8
 Both sides acknowledge that Joutras was ready to step down and that he had recently had health issues.
But Rush also presents evidence that, along with his health conditions, Joutras was “burned out” and
wanted to liquidate his Segerdahl interest, growing anxious to sell by 2016. (Pl.’s Resp. to Segerdahl SOF
¶ 26.)



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       During his tenure as CEO, Joutras enjoyed protection from termination without cause and

was subject to non-compete and non-solicitation agreements. (PRSSF ¶ 54(a).) Once Schneider

took over the CEO position, Joutras’s reworked agreement reclassified him as an employee,

extended his pay and benefits for three years while also extending his non-compete and non-

solicitation agreements, and excluded him from the executive bonus pool after 2015. (Id.

¶ 54(b).) The Outside Directors negotiated the new agreement (id. ¶ 54), the Board approved it,

and Bradshaw signed Joutras’s agreement the same day Joutras signed his. (SRPSAF ¶ 46.)

       Finally, Schneider altered the management team after taking over as CEO. Specifically,

she “exited” White as EVP of Sales in December 2015, placing another Segerdahl employee into

that role. (PRSSF ¶ 57.) Rather than simply fire White, she instead renegotiated his contract: his

$300,000 salary would continue through the end of 2016 (with benefits but without participation

in the executive bonus pool), and he had a non-solicitation and a newly imposed non-compete

agreement that extended for one year past his termination. (Id. ¶ 58.) Schneider’s purported

reason for renegotiating White’s contract was that White was skilled in recruiting salespeople

and, given that Segerdahl’s salespeople were not subject to non-compete agreements, she hoped

to mitigate any risk of White poaching talent. (Id. ¶ 58(a).)

                       2.      Other Executive Compensation

       Another relevant aspect of executive compensation at issue is Segerdahl’s practice of

issuing Stock Appreciation Rights (“SARS”) interests. SARS awards are similar to stock options,

but the redemption value is equal to the difference between value at redemption and value when

granted. (PRSSF ¶ 24.) In other words, there is no need to sell the stock as with an option;

awardees are granted the difference in value upon redemption. Several high-ranking Segerdahl

employees and Board members were awarded SARS. Each of the three Outside Directors was




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granted 100 SARS upon their appointment in April 2015. (Id. ¶ 29.) Mason, an attorney, had to

pay any proceeds from the SARS to his law firm. (SRPSAF ¶ 19.) At the time they were granted,

the Outside Directors’ shares were valued at $5,719; when the company sold, each share was

worth $13,072. (PRSSF ¶ 29.) This resulted in a SARS award of roughly $735,000 to each

Outside Director. (Id.)

         Schneider received 800 SARS when she took over as CEO; at that time, the share price

was $7,792. (Id. ¶ 35.) At sale, her SARS units were worth around $4.2 million. (Id. ¶ 36(c).)

Like Schneider, Joutras owned 800 SARS. (Id. ¶ 36(a).)9 Paul White also had SARS units.

(SRPSAF ¶ 48.) Notably, Rush contends that according to the terms of Segerdahl’s SARS plan,

both Joutras and White—who are related by marriage—should have forfeited their unvested

SARS units upon termination but were instead permitted to keep them. (Id.) However, the record

evidence to which Rush cites establishes only that White and Joutras are related by marriage;

there is no support for the statement that their SARS arrangement was contrary to Segerdahl’s

SARS plan. (Id. (citing Decl. of James Bloom, Ex. DDDDD (“Joutras Dep.”) at 142:12–25,

1:23,10 Dkt. No. 290-3).) Indeed, Segerdahl notes that neither employee was actually

terminated—rather, each continued their employment, albeit in different roles, which meant that

their SARS continued to vest. (Id.)




9
 Rush disputes Paragraph 36 of Segerdahl’s SOF but does not dispute the underlying numbers. Rather, he
disputes certain characterizations made in that paragraph.
10
  Page 1 does not contain testimony, so it is not clear to what Rush intends to cite. However, there is no
reference to the SARS plan in the excerpted deposition testimony, with the exception of Joutras
confirming the value of his SARS award.



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                                            DISCUSSION

        I.      Challenges to Expert Testimony

        The Court first addresses the parties’ motions directed toward expert testimony under

Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993). “The admission of expert

testimony is governed by Federal Rule of Evidence 702 and the principles outlined in Daubert.”

Bielskis v. Louisville Ladder, Inc., 663 F.3d 887, 893 (7th Cir. 2011). Under the Daubert

standard, the district court acts as a gatekeeper to “ensure the reliability and relevancy of expert

testimony.” Naeem v. McKesson Drug Co., 444 F.3d 593, 607 (7th Cir. 2006) (quoting Kumho

Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 153 (1999)). And Rule 702 also provides that a

qualified expert may testify as to their opinion if their specialized knowledge will help the trier

of fact to determine a fact in issue, their testimony is based on sufficient facts or data and is the

product of reliable methods, and the expert has reliably applied those methods to the facts of the

case. Fed. R. Evid. 702.

        Accordingly, a district court must engage in a three-step analysis before admitting expert

testimony. Myers v. Ill. Cent. R.R. Co., 629 F.3d 639, 644 (7th Cir. 2010). “It must determine

whether the witness is qualified; whether the expert’s methodology is scientifically reliable; and

whether the testimony will assist the trier of fact to understand the evidence or to determine a

fact in issue.” Id. (internal quotation marks and citation omitted). But this gatekeeping

responsibility “does not render the district court the trier of all facts relating to expert

testimony. . . . The jury must still be allowed to play its essential role as the arbiter of the weight

and credibility of expert testimony.” Gopalratnam v. Hewlett-Packard Co., 877 F.3d 771, 780

(7th Cir. 2017) (internal quotation marks omitted). While “‘shaky’ expert testimony may be

admissible, subject to attack on cross-examination,” the district court has an obligation to




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exclude any testimony that crosses the line from shaky to unreliable. Bielskis, 663 F.3d at 894

(citation omitted). That said, any expert testimony here will occur in a bench trial, not a jury trial.

When it comes to relevance and reliability, “the usual concerns of the rule—keeping unreliable

expert testimony from the jury—are not present in [a bench trial].” Metavante Corp. v. Emigrant

Sav. Bank, 619 F.3d 748, 760 (7th Cir. 2010). “When the gatekeeper and the factfinder are one

and the same—that is, the judge—the need to make such decisions prior to hearing the testimony

is lessened.” In re Salem, 465 F.3d 767, 777 (7th Cir. 2006).

               A.      Defendants’ Motion to Exclude Expert Testimony of Daniel Galente

       Defendants first move to strike the expert testimony of Daniel Galente, who opined on

the effect of strategic buyers on a sales process and how sellers can limit risk when shopping to

strategic buyers. Defendants argue that Galente’s testimony should be stricken because his

qualifications do not match his opinions, his opinions are so limited and generalized as to be

unreliable and unhelpful, and he applied incorrect standards when formulating his opinions. The

Court disagrees.

       First, Galente is qualified. He has advised on more than 700 buy- or sell-side transactions

over the course of twenty-five years, including both private equity and ESOP transactions,

providing a basis for his opinions on the effect of strategic buyers’ involvement in the shopping

process. He also has significant experience on the diligence portion of transactions, which

provides a basis for his opinions on ways that firms can ameliorate risk when negotiating a sale

with a strategic buyer. Galente’s experience thus qualifies him as an expert. Walker v. Soo Line

R.R. Co., 208 F.3d 581, 591 (7th Cir. 2000).

       Second, Galente’s opinion is reliable and helpful to the finder of fact. Defendants argue

that the opinion is overly generalized, opining on the principles applicable to mergers and




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acquisitions (“M&As ”) rather than the specific facts of this transaction. But as explained by the

advisory committee notes, the Federal Rules of Evidence contemplate such testimony:

               It might also be important in some cases for an expert to educate the
               factfinder about general principles without ever attempting to tie
               them to the specific facts of the case. . . . For this kind of generalized
               testimony, Rule 702 simply requires that (1) the expert be qualified;
               (2) the testimony address a subject matter on which the factfinder
               can be assisted by the expert; (3) the testimony be reliable; and (4)
               the testimony “fit” the facts of the case.

Fed. R. Evid. 702 advisory committee’s notes (2000 amends.). Galente’s testimony fits specific

facts of the case and does so in a way that assists the factfinder. For example, his report opines

on ways that Segerdahl could have ameliorated the risk of negotiating with a strategic buyer,

such as using “clean rooms” or redacting certain information. (Decl. of Robert Rachal in Supp.

of Galente Mot., Ex. A (“Galente Report”), ¶¶ 40–42, Dkt. No. 201-1.) He points to specific

strategic buyers, indicating, for example, that the fact that JPMorgan was precluded by its

engagement letter with Segerdahl from contacting Quad or RRD affected the price—that is, that

the specific examples of Quad and RRD are applications of the general principles on which he

opines. (Dkt. No. 251-13 at 8.) Galente did clarify in his deposition that he is not opining

specifically that Quad or RRD, or any specific company, would have paid more—but Quad and

RRD are clearly companies to which his general testimony applies. (Decl. of Robert Rachal in

Supp. of Galente Mot., Ex. B (“Galente Dep.”), at 144:6–15; 156:6–24, Dkt. No. 201-1.)

Galente’s testimony about general practices in M&A transactions can also buttress fact evidence,

providing explanation for why certain actions were (or were not) taken. See CDX Liquidating Tr.

ex rel. CDX Liquidating Tr. v. Venrock Assocs., 411 B.R. 571, 587 (N.D. Ill. 2009) (permitting

testimony that “provide[d] a backdrop against which the jury may view this case”).

       Lastly, Defendants argue that Galente failed to apply the proper legal standard in his

opinion. This argument is unavailing. Galente need not opine on whether a legal standard was


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met for his opinion to be reliable; indeed, doing so could run the risk of rendering his testimony

inadmissible. See Good Shepherd Manor Found., Inc. v. City of Momence, 323 F.3d 557, 564

(7th Cir. 2003) (affirming a district court’s exclusion of “expert testimony as to legal conclusions

that will determine the outcome of the case”); George v. Kraft Foods Glob., Inc., 800 F. Supp. 2d

928, 934 (N.D. Ill. 2011) (“[A]ny attempt by Pomerantz to define what the prudence requirement

would say is improper.” (internal quotation marks and ellipses omitted)).

       As it is, Galente’s testimony assists the factfinder in understanding a number of issues in

the case, including (without limitation) methods to ameliorate risk of sensitive information

falling into a competitor’s hands, the role of strategic buyers in a sale, and Segerdahl’s leverage

with buyers throughout the sale process. Defendants’ motion to exclude Galente’s expert

testimony is thus denied.

               B.      Defendants’ Motion to Exclude Expert Testimony of Daniel Van Vleet

       Defendants next move to bar portions of valuation expert Daniel Van Vleet’s testimony.

Van Vleet opines on Segerdahl’s fair market value (“FMV”) for ERISA purposes and on whether

the ESOP suffered damages under the FMV requirements. They argue that his damages analysis

is unreliable and unhelpful because it is contrary to law, and that his opinion regarding a

potential 338(h)(10) tax election violated ERISA’s FMV standards.

       Defendants do not challenge Van Vleet’s qualifications, but he is clearly qualified. He

holds a Master of Business Administration degree with a focus in Finance from the University of

Chicago’s School of Business. He has contributed to eight financial textbooks, served as a

professor at the Kellstadt Graduate School of Business at DePaul University and at Northwestern

University, and is the former President of the American Society of Appraisers.




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       Defendants nonetheless assert that Van Vleet’s opinion is unreliable because ICV was not

a party-in-interest under ERISA, so ERISA’s FMV standards should not apply and were

inappropriately considered by Van Vleet. Defendants argue that instead, the FMV analysis

should be limited to Count III, which addresses Schneider’s post-sale investment in the

reconstituted Segerdahl. (Defs.’ Daubert Mot. re: Daniel Van Vleet (“Van Vleet Mot.”) at 9–10,

Dkt. No. 203.) However, as discussed below, the allegation is that Schneider, not ICV, is the

relevant party in interest. (FAC ¶ 425.) And the Court has declined to dismiss or otherwise limit

Count III.

       Rush’s underlying argument as it relates to the prohibited transaction claim presented in

Count III appears to be that because Schneider transacted with the ESOP, the validity of the

entire transaction is called into question. Under this theory, Van Vleet did not “improperly

appl[y] his adequate consideration/FMV analysis to calculate damages on the ICV sale.” (Van

Vleet. Mot. at 9.) Defendants are free to challenge his conclusion on cross-examination, or

present rebuttal evidence to explain why Van Vleet’s calculations are incorrect. But it is not

appropriate to limit his testimony on the grounds presented.

       Defendants also argue that Van Vleet improperly included value from a potential

338(h)(10) tax election in his FMV calculation. At bottom, they argue that an FMV calculation

requires hypothetical parties, whereas a 338(h)(10) election’s viability necessarily depends on

the specific characteristics of the particular parties. Notably, Defendants offer no authority

stating that 338(h)(10) elections, or any similar types of value, cannot be considered in an FMV

analysis. The closest they come is Hans v. Tharaldson, No. 3:05-cv-115, 2011 WL 6937598, at

*3–4 (D.N.D. Dec. 23, 2011). There, the district court excluded the testimony of an expert who

opined on how a hypothetical hotel investor would have viewed a fiduciary’s pre-transaction




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investigation. But in Hans, a hotel investor would be focused on obtaining the “sharpest bargain

possible maximizing the potential for a windfall,” seeking out people desperate to sell. Id. at *4.

ERISA FMV, by contrast, requires a “hypothetical willing buyer and willing seller under no

compulsion to buy or sell.” Id. The hypothetical investor in Hans had entirely different

motivations than the hypothetical FMV buyer; ditto the hypothetical sellers. Here, however, a

338(h)(10) election is something buyers typically want to use—in other words, it fits more neatly

into the framework of a willing buyer and willing seller under no compulsion to buy or sell.

(Pl.’s Opp. to Van Vleet Mot. at 10, Dkt. No. 243.)

       In short, Defendants have not shown that Van Vleet’s methodology is so shaky as to be

unreliable. Their motion to limit his testimony is accordingly denied.

               C.      Defendants’ Motion to Exclude Expert Testimony of Andrew Stumpff

       The last Daubert challenge Defendants raise concerns the expert testimony of Andrew

Stumpff, who opines on potential legal jeopardy Segerdahl faced as a result of its securitization

practices regarding ESOP participants who had already cashed out from the ESOP. Defendants

argue that Stumpff’s testimony is inadmissible because it constitutes an impermissible

conclusion of law and because his conclusions are speculative and not tied to any harm.

       First, Stumpff is well qualified. He lectures at the University of Michigan Law School

and is a professor in the LL.M taxation programs at the University of Alabama and Washington

University in St. Louis. He advises and represents clients on ERISA matters at the law firm of

Butzel Long, where he is a non-equity shareholder. He has published several law review articles

and three casebooks on ERISA-related topics.

       Defendants are correct that legal argument belongs in briefs, not expert reports. RLJCS

Enters., Inc. v. Pro. Benefit Tr. Multiple Emp. Welfare Benefit Plan and Tr., 487 F.3d 494, 498




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(7th Cir. 2007). But Stumpff’s report provides an explanation of potential legal exposure that

Segerdahl risked, which risk could easily have motivated Segerdahl’s decision-making. See

United States v. Blount, 502 F.3d 674, 680 (7th Cir. 2007) (“There is a difference between

stating a legal conclusion and providing concrete information against which to measure abstract

legal concepts.”). Here, Stumpff’s testimony aids the factfinder in understanding what the

securitization risk was and why Segerdahl may have been motivated to—as Rush argues—move

too quickly in its sale. Stumpff is not offering his testimony for legal argument, such as opining

on whether Segerdahl should pay damages for its securitization practices. Nor does he attempt

authoritatively to interpret Internal Revenue Service guidelines as they relate to Segerdahl. See

Roundy’s Inc. v. NLRB, 674 F.3d 638, 648 (7th Cir. 2012) (affirming exclusion of expert

testimony “about Wisconsin property law and the nature of Roundy’s’ property interests at each

of its leased facilities”). Rather, he points to a concern—one apparently shared by Segerdahl’s

outside counsel—that plausibly motivated the company’s reasoning.

       Flowing from this, Defendants’ second ground to exclude Stumpff’s testimony is that the

chain of events he sets out is too speculative. That concern goes to the weight of the testimony,

however, not to its admissibility, and can be addressed on cross-examination at trial. See Smith v.

Ford Motor Co., 215 F.3d 713, 719 (7th Cir. 2000) (“The question of whether the expert is

credible or whether his or her theories are correct given the circumstances of a particular case is

a factual one that is left for the jury to determine after opposing counsel has been provided the

opportunity to cross-examine the expert regarding his conclusions and the facts on which they

are based.”).

       Defendants’ motion to exclude the expert testimony of Andrew Stumpff is denied.




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               D.      Rush’s Motion to Exclude Expert Testimony of Lee Bloom

       Rush moves to exclude the expert testimony of Defendants’ valuation expert, Lee Bloom.

Defendants proffered Bloom to opine on whether the valuation and fairness opinion tendered by

Stout prior to the sale properly applied a CSRP to Segerdahl’s valuation, and whether the

potential for a 338(h)(10) tax election and a sale-leaseback transaction were properly factored in.

Rush argues that Bloom’s testimony should be excluded because it is inconsistent with Bloom’s

prior testimony in a separate case, he did not cite or rely on outside sources, he fails to support

his opinions on the sale-leaseback transaction and makes mistakes of fact, and his opinions about

the 338(h)(10) election are unsupported. Because Rush’s arguments are better addressed on

cross-examination than pre-trial by means of a Daubert motion, Bloom’s testimony will be

permitted.

       As an initial matter, the Court notes that Bloom is well qualified. While Rush challenges

his qualifications by noting that he does not hold a professional certification in valuation, Rush

does not specify which, if any, certification would be adequate. Bloom is the former Chairman of

the Valuation Advisory Committee of the ESOP Association, founded a firm that conducts

valuations for ESOPs, and was professionally involved in ESOP valuation at another firm. (Decl.

of Michael Mulder, Ex. A (“Bloom Report”) at 1, 2, 24, Dkt. No. 219-1.) Lack of a specific

professional credential does not disqualify Bloom’s report—particularly when Rush fails to state

which credential he would prefer Bloom to have. Tuf Racing Prods., Inc. v. Am. Suzuki Motor

Corp., 223 F.3d 585, 591 (7th Cir. 2000) (“The notion that Daubert . . . requires particular

credentials for an expert witness is radically unsound.”).




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                       1.      Inconsistency with Prior Testimony

       With respect to the inconsistency criticism, Rush argues that in a 2016 case Bloom, as an

expert for GreatBanc, testified as a fact witness that he never applied a CSRP because they are

“theoretically wrong.” See Fish v. GreatBanc Trust Co., No. 09 C 1668, 2016 WL 5923448

(N.D. Ill. Sept. 1, 2016). But in Fish, Bloom was not only a fact witness, he testified regarding a

valuation that had already “accounted for Company-specific risks by lowering the Company’s

projections[.]” Id. at *28. Because there was already a downward adjustment on that Company’s

value, applying a CSRP “would have amounted to inappropriate double-counting.” Id. No such

double-downward-adjustment is present here. Thus, Bloom’s prior testimony is not inconsistent

on its face—it was rendered in a different capacity and in response to a different situation. More

importantly, even if the prior testimony were inconsistent, that would be an issue to explore on

cross-examination and not a reason to exclude Bloom’s testimony altogether.

                       2.      Sourcing

       Next, Rush argues that Bloom did not cite or rely on any academic or professional

literature on business valuation. As support, Rush cites Bloom’s deposition, in which—as Rush

describes it—Bloom “refused to testify that he relied on the books Defense counsel identified”

out of fear that a plaintiffs’ attorney would nitpick the book itself. (Pl.’s Daubert Mot. re: Lee

Bloom (“Bloom Mot.”) at 7, Dkt. No. 218.) But Rush misstates Bloom’s deposition testimony.

Bloom may not have used the word “rely,” but when Rush’s counsel defined “rely” as to

“[p]hysically open up the book and review what it says,” Bloom responded that he “opened up

books and reviewed what they said,” he just had not quoted them in his reports. (Decl. of

Michael Mulder in Support of Bloom Mot., Ex. I (“Bloom Dep.”) at 126:17–25, Dkt. No. 219-9.)

Bloom testified that he did not cite the books about which he was asked because he viewed them




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as “reference book[s]” rather than “the be all and end all of valuation or the only source that you

should look to.” (Id. at 128:2–4.) This testimony does not lead to an inference that Bloom

“fail[ed] to cite or rely on industry sources or standards.” (Bloom Mot. at 8.)

                       3.      Sale-Leaseback

       Rush also raises issues with Bloom’s methodology in evaluating Stout’s consideration of

a potential sale-leaseback of Segerdahl property. In Rush’s reply brief, he claims that his attack

on Bloom’s sale-leaseback opinions is not one of substance—a dispute over the accuracy of his

conclusions—but rather one of qualification and methodology. (Pl.’s Reply in Supp. of Bloom

Mot. (“Bloom Reply”), Dkt. No. 272 at 8. But at bottom, they read as disputes with the

conclusion Bloom reaches.

       Rush raises four main grounds of contention. First, he argues that Stout’s valuation report

failed to attribute value to the sale-leaseback transaction and raises a number of points

questioning Bloom’s qualifications to opine on sale-leaseback valuation. To be sure, Bloom is

not an expert on constructing sale-leaseback transactions. (Bloom Dep. at 39:19–20.) But that is

not the scope of his report. Rather, he was asked to what extent such a transaction would affect

valuation. (Bloom Report at 4.) And as discussed previously, Bloom is well-qualified to opine on

valuation. Given that Bloom’s opinion sounds in his area of expertise, the Court finds his opinion

sufficiently reliable to be heard.

       Second, Rush argues that Stout’s work papers use different weighted average cost of

capital (“WACC”) assumptions than its final report, which Bloom allegedly failed to factor in to

his opinion. But that change does not appear to be a material one; indeed, as Defendants note,

Van Vleet does not discuss the draft WACC assumptions in his rebuttal to Bloom’s report.

Presumably, if this were so glaring a reliability error as to warrant exclusion, it would be raised




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in the report responding directly to it. In any case, Bloom’s WACC opinions can be attacked on

cross-examination. Metavante, 619 F.3d at 762.

       Third, Rush argues that Bloom erroneously opines that the sale-leaseback would have

lowered Segerdahl’s borrowing capacity and valuation. But Segerdahl’s credit agreements

prohibited sale-leaseback transactions without lender approval and counted lease payments

against EBITDA. (Defs.’ Opp. to Bloom Mot. at 10 & n.39, Dkt. No. 236.) Again, this is a

challenge better raised by Rush on cross-examination. Metavante, 619 F.3d at 762.

       Fourth, Rush raises Bloom’s discussion of “off balance sheet” benefits of the sale-

leaseback. As Bloom describes it, the off-balance sheet benefit of a properly structured sale-

leaseback essentially hides the lease payments—the lease payment appears on the income

statement but the “value of the future payment stream would not be included as a liability on the

balance sheet.” (Bloom Report at 10.) Rush contends that Bloom’s opinions lack support and are

unrelated to the case. But Bloom’s qualifications as an expert provide a basis to conclude that his

opinion is reliable. And understanding why a company might benefit from a sale-leaseback

transaction aids the factfinder in determining why such a transaction would be a point of

contention.

                       4.      338(h)(10) Election

       Finally, Rush argues that Bloom improperly gives no value to a potential 338(h)(10) tax

election, despite JPMorgan and ICV estimating the benefit to be greater than $40 million. This

contention appears to misread Bloom’s report, which states that the tax election “is not an

intrinsic source of value necessarily included in the assessment of a company’s fair market

value . . . or in considering the financial fairness of a transaction.” (Bloom Report at 12.) It

can simultaneously be true that there is value to the parties in a specific transaction in a




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338(h)(10) election, while at the same time the election does not factor into FMV. Rush is free to

chip away at Bloom’s basis for his conclusion on cross-examination, but Rush does not show

that the opinion crosses the line into unreliability.

        Rush’s motion to bar the expert testimony of Lee Bloom is denied.

                E.      Rush’s Motion to Bar Testimony of Defendants’ Rebuttal Expert
                        Mark Hahn

        Finally, Rush moves to bar the testimony of rebuttal expert Mark Hahn. Defendants

proffer Hahn to rebut the expert reports of Galente and Van Vleet. Specifically, Hahn was asked

to respond to: (1) whether Van Vleet’s analysis used reasonable comparators for Segerdahl; (2)

whether Galente’s analysis used reasonable comparators; (3) whether Galente’s line between

financial and strategic buyers reflected the industry and Segerdahl’s marketing; and (4) whether

Galente showed that either strategic competitor—Quad or RRD—would likely have paid more

for the company. Rush challenges Hahn’s qualifications, argues he employed unreliable

methodology, and contends that he opined outside the scope of a rebuttal report.

        The Court first finds that Hahn is qualified to opine on these topics. He founded and is

the Senior Managing Director of a firm that advises and consults printing industry clients on

M&A issues. (Decl. of James Bloom, Ex. A (“Hahn Report”) at 49, Dkt. No. 224-1.) He runs a

blog, The Target Report, that publishes monthly summaries of printing industry M&A activity,

and which is republished by a number of industry publications each month. (Id. at 5.) He has

spoken at a number of industry events on topics like valuation and M&A trends. (Id. at 52.) Each

of these qualifications relates to the subject matter of his opinion, which at a high level is an

industry-specific look at the characteristics of various M&A partners. Hahn’s experience

qualifies him as an expert. See Tuf Racing Prods., 223 F.3d at 591 (“[A]nyone with relevant




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expertise enabling him to offer responsible opinion testimony helpful to the judge or jury may

qualify as an expert witness.”).

       The thrust of Rush’s methodological challenge is that Hahn’s report simply counts

transactions and does not take into account their broader context, and that he fails to account for

transactions in 2016 and 2017 in his “Setting the Stage for 2016” section. Rush only seems to

challenge Tables 1 through 4 of Hahn’s report, which purport to do no more than count

transactions, notably including distressed transactions, in 2015. (Hahn Report at 11–15.) It is not

clear how including transactions that took place in 2016 and 2017 would assist Hahn in “Setting

the Stage for 2016.” Rush further ignores the remainder of Hahn’s report in arguing that he failed

to include relevant information in reaching his conclusion. Hahn may not have used the precise

methodology that Rush wants him to have used, but Daubert motions are not vehicles to argue

for a party’s preferred methodology. Besides, Hahn considered the effect of a unionized

workforce—which Segerdahl had—on price, the effect of the growing digital sector, and the

characteristics of market competitors. All of this is relevant context.

       Lastly, Rush argues that Hahn exceeded the scope of rebuttal in relation to Galente’s

report because Galente did not opine on whether Quad or RRD would have paid more than ICV,

but rather opined on the vaguer point that strategic buyers (a category Galente acknowledges

includes Quad and RRD) often pay more and that their presence can help drive up a negotiated

price. If anything, however, the scope of Hahn’s rebuttal is narrower than Galente’s report.

Indeed, Galente notes that JPMorgan was not permitted to contact strategic buyers, and was

“specifically precluded from contacting two major strategic buyers—[Quad] and [RRD].”

(Galente Report at 8.) The clear inference is that when Galente opines on how strategic buyers

can affect a sale, Quad and RRD are directly implicated. Hahn’s report directly responds to a




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specific subset of companies discussed in Galente’s report. Because “[t]he proper function of

rebuttal evidence is to contradict, impeach or defuse the impact of the evidence offered by an

adverse party,” it fits the scope of rebuttal. Peals v. Terre Haute Police Dep’t, 535 F.3d 621, 630

(7th Cir. 2008).

       Rush’s motion to exclude Mark Hahn’s rebuttal testimony is thus denied.

       II.     Summary Judgment

       Having determined the Daubert motions, the Court next turns to Defendants’ motions for

summary judgment. In considering summary judgment, the Court must determine if a genuine

issue of material fact exists such that a reasonable jury could return a verdict for the nonmoving

party. Ziccarelli v. Dart, 35 F.4th 1079, 1083 (7th Cir. 2022). To prevail, the party seeking

summary judgment must identify “specific, admissible evidence showing there is a genuine

dispute of material fact for trial.” Grant, 870 F.3d at 568. Once a properly supported motion for

summary judgment is made, the opposing party must respond by setting forth specific facts

showing that there is a genuine factual issue for trial. Johnson v. Advocate Health & Hosps.

Corp., 892 F.3d 887, 894 (7th Cir. 2018). The Court’s function is not to “weigh the evidence” or

“determine the truth of the matter,” but rather “determine whether there is a genuine issue for

trial.” Austin v. Walgreens Co., 885 F.3d 1085, 1088 (7th Cir. 2018) (internal quotation marks

omitted). In doing so, the Court must view all evidence in the light most favorable to the

nonmovant and draw all reasonable inferences in the nonmovant’s favor. Grant, 870 F.3d at 568.

               A.      Count I

       Count I, which is asserted against all Defendants, implicates both the sales claims and the

diversion claims. The sales claims relate to the sale of Segerdahl (Defs.’ Mot. for Summ. J. on

Sales (“Sales Mot.”) at 1, Dkt. No. 214), while the diversion claims relate to various




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compensation packages paid out to certain executives after the sale. (FAC ¶¶ 321–25.) Count I

asserts claims for breach of fiduciary duty under 29 U.S.C. § 1104(a)(1). That statute sets out the

standard of care required of an ERISA trustee, demanding that they “discharge [their] duties with

respect to a plan solely in the interest of the participants and beneficiaries.” 29 U.S.C.

§ 1104(a)(1). To demonstrate a breach of fiduciary duty under ERISA, a plaintiff must show “(1)

that the defendants are plan fiduciaries; (2) that the defendants breached their fiduciary duties;

and (3) that the breach caused harm to the plaintiff.” Jenkins v. Yager, 444 F.3d 916, 924 (7th

Cir. 2006) (internal quotation marks omitted).

                       1.      Fiduciary Capacity

       With respect to the first element, the plaintiff must show not simply that the defendant

was nominally a fiduciary but that the defendant was acting in a fiduciary capacity. Brooks v.

Pactiv Corp., 729 F.3d 568, 766 (7th Cir. 2013). That is because an ERISA fiduciary does not

always act in a fiduciary capacity. Speaking generally, an act is made in a fiduciary capacity if it

involves “‘the management and administration of the plan, the management and disposition of

plan assets, the dispensation of investment advice,’ and benefits determinations.” Svigos v.

Wheaton Securities, Inc., No. 17-cv-04777, 2018 WL 587190, at *7 (N.D. Ill. Jan. 29, 2018)

(quoting Brooks, 729 F.3d at 766). Thus, for example, an ERISA fiduciary does not act in a

fiduciary capacity when deciding to fire an employee, Brooks, 729 F.3d at 766, or when acting as

a settlor who “sets, changes, or enforces contribution rates,” Bator v. District Council 4, 972

F.3d 924, 932 (7th Cir. 2020), or when adopting, amending, or terminating a benefits plan.

Lockheed Corp. v. Spink, 517 U.S. 882, 890–91 (1996).

       To prevail on his claim against each Defendant, Rush must first show that the Defendant

acted in a fiduciary capacity. Courts have held that when an ESOP fiduciary is also a corporate




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officer, ERISA imposes fiduciary duties “on business decisions from which that individual could

directly profit.” Svigos, 2018 WL 587190, at *9 (following Johnson v. Courtier, 572 F.3d 1067,

1077 (9th Cir. 2009)). ERISA applies if “‘the plan’s assets include employer stock and the

officer’s decision is one from which he could directly benefit.’” Godfrey v. GreatBanc Trust Co.,

No 18 C 7918, 2020 WL 4815906, at *8 (N.D. Ill. Aug. 19, 2020) (quoting Johnson, 572 F.3d at

1077)). Courts must identify whether a particular action is one that could give rise to a breach

under § 1104(a)(1)—that is, whether it is a decision from which the fiduciary could directly

benefit. Id. That necessarily requires looking to the substance of the alleged breach, albeit

perhaps somewhat superficially. If it is such a situation, the plan fiduciary acted in a fiduciary

capacity, and the analysis moves to the substantive breach itself.

       Liability for breach attaches when the fiduciary is “acting as a fiduciary (that is, was

performing a fiduciary function) when taking the action subject to complaint.” Pegram v.

Herdrich, 530 U.S. 211, 226 (2000). As it relates to the Segerdahl Defendants, there are two

actions at issue: the sale of the company and the post-sale payments to certain executives. For

GreatBanc, it is the approval of the sale.

                               a.      Sales Claims

       With respect to the sales claims, the “action subject to the complaint” is the shopping

process of Segerdahl. Pegram, 530 U.S. at 226. Here, Rush focuses on three events: (1) the

Board’s decision to appoint Schneider as fiduciary despite its alleged knowledge that her intent

in pursuing a sale was to seek future employment for herself as opposed to maximize sale value;

(2) Segerdahl Defendants’ failure to ensure that the sale was for fair market value; and (3)

Segerdahl Defendants’ general failure to protect the ESOP. (FAC ¶¶ 400, 402, 406.)




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       In both Godfrey and Svigos, the courts found that plan fiduciaries acted in a fiduciary

capacity because their actions raised the risk of self-benefit. To be sure, the actions alleged in

Godfrey and Svigos were more obviously self-interested than here. For example, in Svigos, the

plaintiff alleged that ERISA fiduciaries invented sham fees to be paid to themselves, “divert[ing]

Plan assets.” Svigos, 2018 WL 587190, at *8. Likewise, in Godfrey, the Court found that

plaintiffs had adequately pleaded a fiduciary breach claim because, on behalf of the employer,

two directors made stock distributions to themselves and other high-ranking members that

diminished the ESOP’s ownership interest in the company from 95% to around 60%, with the

individuals’ equity interests correspondingly increasing. Godfrey, 2020 WL 4815906, at *9.

But the standard elucidated in both cases does not speak to the magnitude of self-dealing’s

harm—it simply asks whether the officer will benefit from her actions involving the plan and

whether the action involved plan assets.

       Here, there are several disputes of material fact as to whether officers benefited

personally from their actions. For example, the Segerdahl Defendants contend that the fact that

Schneider and Bradshaw remained with the post-sale entity was part and parcel of a corporate

acquisition—just a part of doing business. Rush, however, asserts that it illustrates that

Defendants engaged in self-interested attempts to secure a long-term benefit that caused the

company to be sold for less than it otherwise would, resulting in a lower payout for ESOP

shareholders. That Schneider and Bradshaw both had substantial financial interests from their

SARS awards in the sale itself does not negate that both also had substantial interests in the post-

sale entity—indeed, as Rush contends, their shares in the post-sale entity may have been more

substantial. The Board’s refusal to market to strategic buyers raises disputed issues as well. Rush

has presented evidence that Schneider knew that a strategic buyer would pay more than ICV




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offered and that Vergamini had said he could have sold the company for more than $320 million,

both points that the Segerdahl Defendants dispute. Additionally, the temporal connection

between the Board being informed of potential IRS liability and the return, “hat in hand,” to ICV

after rejecting their offer could be seen by a reasonable factfinder as indicative of a sale rushed

through so as to ensure a personal employment benefit rather than a maximum return.

       This is not a circumstance where Rush claims that the only self-interest implicated by the

sales process was payout of ESOP shares and SARS awards. After all, it would be unreasonable

to suggest that a fiduciary who participates in an ESOP can never cash out if the company is

sold. Here, by contrast, Rush has pointed to sufficient evidence from which a reasonable juror

could find that self-dealing motivations may have been at play and each of the Segerdahl

Defendants is implicated by that possibility. The Board appointed Schneider and Joutras as

named fiduciaries, and a reasonable juror could find that the Outside Directors had conflicts of

interest in the first place. (SRPSAF ¶¶ 17–20.) Likewise, a reasonable juror could find that the

Board Defendants were so motivated to sell that they overlooked the potential for better offers,

either out of eagerness to leave the company for Joutras or out of hope for stock awards and

longer-term employment for Schneider.

       In short, there remains a genuine question of material fact as to whether the Segerdahl

Defendants acted as fiduciaries while shopping the company.

                               b.      Diversion Claims

       The diversion claims are those relating to the various compensation packages paid out to

Joutras, Bradshaw, and White after the sale of Segerdahl. (FAC ¶¶ 321–25.) As described in

greater detail above, each of the three executives signed a revised employment agreement some

time before the ICV sale. Joutras became an employee, rather than the CEO, and as a result his




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compensation was altered and his non-compete and non-solicitation agreements were extended.

Bradshaw, the CFO, was provided with a transaction bonus if the Segerdahl sale closed before

the end of 2016. Meanwhile, White, who was the EVP Sales when Schneider took over as CEO,

did not fit into Schneider’s plans. She chose to “exit” him in favor of a different candidate, but

rather than cut him loose, he agreed to a $300,000 separation package and—most importantly to

Schneider and the Board—a non-compete and non-solicitation agreement, by neither of which

was he was previously bound. After the sale to ICV closed, Segerdahl paid out Bradshaw’s

bonus and continued paying out its obligations to Joutras and White. According to Rush, this

impermissibly diminished the ESOP’s funds.

       The main ground Defendants advance for summary judgment in their favor on the

diversion claims is that the record establishes that the post-sale payouts simply complied with

contractual obligations—ones that the Board entered into in its corporate, rather than fiduciary,

capacity—and that no reasonable factfinder could find otherwise.

       In contrast to the sales claims, with respect to the diversion claims, Rush fails to

demonstrate a genuine dispute of fact as to whether these were transactions from which the

acting fiduciary could directly benefit. Godfrey, 2020 WL 4815906, at *8 (noting that the

relevant officer’s decision must be one from which he could directly benefit). Even when viewed

in the light most favorable to him, Rush’s evidence consists of coincidence and conjecture. For

example, he notes that Bradshaw signed Joutras’s agreement after Joutras signed Bradshaw’s

agreement, implying a quid pro quo arrangement. (SRPSAF ¶ 46.) But this does not create a

dispute of material fact as to the existence of collusion. Either the agreements would be signed at

the same time or one would be signed before the other. Rush’s evidence of collusion goes no

farther than stating that such occurred. Rush also points out that White was related to Joutras by




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marriage, again suggesting that this fact alone evidences a quid pro quo. But this is nothing more

than innuendo. Indeed, Rush’s most glaring accusation—that Joutras and White received SARS

awards contrary to the SARS plan because they were forfeited on termination—is not supported

by the record. (Pl.’s Opp. to Summ. J. (“Sales Opp.”) at 29, Dkt. No. 238; SRPSAF ¶ 48.)

Moreover, as the Segerdahl Defendants point out, neither Joutras nor White was actually

terminated; rather, their employment simply continued in different roles under their revised

employment agreements.

       Rush also points out that the Board discussed the reworked agreements with Joutras and

Bradshaw at their meeting but did not finalize or approve them. But Segerdahl has presented the

Board’s written consent to, among other things, Joutras and Bradshaw’s employment

agreements. Rush also contends the agreements were not presented to GreatBanc, but it is not

clear why this is important. It does not appear that GreatBanc had to approve compensation

decisions—and if there was fear of self-dealing, GreatBanc reviewed the agreements before

approving the sale.

       Defendants, by contrast, present evidence of clear reasons why the agreements were

amended. As to Joutras, the Outside Directors decided to rework his title and compensation

because he did not want to remain as CEO, but they wanted to ensure his continued employment

with the company. They also wanted to ensure that he was under a non-compete and non-

solicitation agreement during the shopping process. (PRSSF ¶ 54.) As to Bradshaw, the Board

determined that a transaction bonus was beneficial so as to keep Bradshaw with the company

until a transaction closed; ensuring that the CFO did not depart during that process, they felt, was

important for continuity. (Id. ¶¶ 55–56.) And as to White, Schneider quickly decided after

becoming CEO that she did not want to keep him as EVP of Sales but she wanted him to stay on




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board until a sale was completed. Moreover, she wanted to ensure that he could not easily join a

competitor—after all, he had significant knowledge of Segerdahl’s customers, sales processes,

and compensation to salespeople, and she feared he could easily poach Segerdahl salespeople

with this knowledge. This was heightened due to the fact that few, if any, Segerdahl salespeople

were subject to non-compete agreements. (Id. ¶¶ 57–58.)

        Rush’s only response is that the Board discussed, but did not approve, the transactions

and that Joutras and Bradshaw signed each others’ agreements on the same day. (PRSSF ¶¶ 54–

58.) Yet the Board minutes at that meeting also discuss “the plan to circulate written resolutions

to approve the actions contemplated by the Board . . . and the execution of the agreements.”

(Decl. of K. Harrell at 213, Dkt. No. 216-3.) And the timing of Joutras’s and Bradshaw’s

signatures is indicative of little more than that they were in the same place at the same time.

        For these reasons, Rush fails to present evidence that creates a genuine issue of material

fact as to whether the Segerdahl Defendants acted in a fiduciary capacity with respect to the

“diversion claims.” Accordingly, the Court need not assess whether they breached their fiduciary

duties with respect to those claims. As a result, The Segerdahl Defendants’ motion for summary

judgment on the diversion claims in Counts I and IV is granted.11

                        2.       Breach

        Turning to the “sales claims,” the Segerdahl Defendants argue they are entitled to

summary judgment because even if the factfinder finds they acted as fiduciaries, they adhered to

the “careful rather than bold” standard that governs fiduciary acts under ERISA. See Armstrong



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  GreatBanc’s summary judgment argument focuses on whether was a breach of its fiduciary duty, not
whether it was acting in a fiduciary capacity. This is unsurprising given that, while GreatBanc’s role in
the sale is subject to some dispute, both sides agree that it did not participate in the negotiation or
shopping process. (PRSSF ¶ 16.)



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v. LaSalle Bank Nat’l Ass’n, 446 F.3d 728, 733 (7th Cir. 2006). But the “careful rather than

bold” language oft-repeated by the Segerdahl Defendants, while vivid, is not the actual legal

standard but rather a gloss on the prudent man standard of care, 29 U.S.C. § 1104(a), which

applies to ESOP trustees in all relevant respects. Fifth Third Bancorp v. Dudenhoffer, 573 U.S.

409, 418–19 (2014).12

        ERISA defines the prudent man standard of care, in part, as a requirement for a fiduciary

to “discharge [their] duties with respect to a plan solely in the interest of the participants and

beneficiaries . . . .” 29 U.S.C. § 1104(a)(1). The Seventh Circuit has identified three non-

exhaustive factors to determine “whether the plan administrators acted solely in the interest of

the plan beneficiaries”: (1) risk of conflicts of interest; (2) fiduciaries with divided loyalties; and

(3) consistent management of the plan over a substantial period of time. Leigh v. Engle, 727 F.2d

113, 127 (7th Cir. 1984).

                                a.      Sales Claims

        The Segerdahl Defendants center their argument for lack of a breach on their substantive

and procedural prudence during the sales process. Specifically, they point to two decisions they

claim were prudent: the decision to shop first to financial buyers (as opposed to strategic buyers)

and the decision to recommend that GreatBanc approve ICV’s offer. Rush responds that the

Segerdahl Defendants’ conflicts of interest led to imprudence on both fronts and that the sale

process was rushed.

        The Segerdahl Defendants argue that offering the company to financial buyers allowed

the company to capture illiquid gains in value while avoiding risks inherent in shopping to



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  An ESOP trustee, unlike a typical trustee, does not have the duty to “diversify the ESOP’s holdings.”
Dudenhoeffer, 579 U.S. at 419. This makes sense, because an ESOP by definition does not have
diversified holdings. But diversification is irrelevant to this case.


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strategic buyers. Such inherent risks included the possibility of Quad or RRD obtaining private

“pricing, marketing, technological capabilities, and compensation information” during the sales

process, as well as potential loss of salesmen, upon whom Segerdahl did not impose non-

compete agreements. (Sales Mot. at 15.) But Rush has presented evidence that the decision not to

shop to strategic buyers may have been motivated by a desire to preserve jobs rather than to

maximize value; indeed, he offers disputed evidence that at least Schneider and Vergamini knew

that strategic buyers would have paid more than ICV. (SRPSAF ¶ 76; PRSSF ¶ 9.) And Rush

disputes that strategic buyers posed an inappropriate risk to Segerdahl’s business, offering expert

evidence of often-used ameliorative techniques. (PRSSF ¶ 11.) Moreover, there is a dispute as to

whether the Outside Directors were fully independent or whether they were following along with

Joutras and Schneider’s strategy. (Id. ¶ 26.)

       Viewed in the light most favorable to Rush, this evidence could lead a reasonable

factfinder to conclude that the shopping process was imprudent. Given the benefits that strategic

buyers often bring, the fact that there are ways to reduce risk of information loss, and the

possibility of more expensive offers, a reasonable factfinder could find that Segerdahl acted

imprudently in omitting strategic buyers from the sales process.

       With respect to their recommendation that GreatBanc approve the offer, the Segerdahl

Defendants argue that they retained an experienced bank, JPMorgan, to shop the company,

rejected one bad offer from ICV before accepting a better offer, and adequately liquidated

Segerdahl’s increased value. They also note that Segerdahl touted the benefits of a sale-leaseback

transaction and 338(h)(10) election. But retaining JPMorgan, while “certainly evidence of

prudence, is not sufficient to entitle defendants to judgment as a matter of law.” George v. Kraft

Foods Glob., Inc., 641 F.3d 786, 799 (7th Cir. 2011). Moreover, Rush presents disputed




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evidence that just prior to closing the sale, JPMorgan told the company’s management that the

company could have sold for $320 million, likely to Quad. (SRPSAF ¶ 76.) And just one day

before negotiations with ICV resumed—eventually resulting in a deal—Segerdahl’s outside

counsel had informed the Board that they were potentially open to significant liability due to

inadequate securitization of ESOP payouts made in 2014. (Id. ¶¶ 31, 68–69.) Taken in the light

most favorable to Rush, a reasonable factfinder could determine that JPMorgan refused to

contact (or was prevented from contacting) viable buyers who would have paid more for

Segerdahl. Such a factfinder could also conclude that the “better deal” Segerdahl obtained from

ICV was not all that much better, only entered into in a rush to avoid liability from the 2014

payouts.

       As to procedural prudence, the Segerdahl Defendants’ argument mainly centers around

the Board’s hiring of JPMorgan to advise and guide the sale, but also includes Joutras’s

adherence to best practices in hiring the Outside Directors. Segerdahl Defendants also argue that

there are no allegations of wrongdoing or misconduct against the Board. As already discussed,

however, reliance on advisors is not dispositive as to prudence. George, 641 F.3d at 799. Rush

has presented evidence regarding the conflicts of each Board member appointed by Joutras, all of

which is in dispute. (SRPSAF ¶¶ 17–20.) For one Board member, Peter Mason, Rush notes that

GreatBanc’s counsel expressed concern with the fact that Segerdahl’s corporate counsel now sat

on its board. (Id. ¶ 20.) Another saw himself as Joutras’s partner. (Id. ¶ 17.) And Rush clearly

argues that the Board engaged in wrongdoing and misconduct. Looking to the evidence he

presents, view in the light more favorable to him, it was the Board who directed that ongoing

employment was a primary goal of the sale. (Id. ¶ 55.) He also presents evidence that the Board,

immediately after being informed of the risk of personal liability due to past securitization




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decisions, chose to “go back to ICV ‘hat in hand’” after refusing an inadequate deal from ICV.

(Id. ¶ 69.)

        The Segerdahl Defendants also argue that GreatBanc’s role as the ultimate approver of

the sale insulates Segerdahl Defendants from liability. They cite Neil v. Zell, 677 F. Supp. 2d

1010, 1023 (N.D. Ill. 2010), and Sommers Drug Stores Co. Employee Profit Sharing Trust v.

Corrigan Enterprises, Inc., 793 F.2d 1456, 1459–60 (5th Cir. 1986), for the proposition that

GreatBanc essentially removes Segerdahl Defendants as fiduciaries by virtue of its authority to

review and approve the sale on the ESOP’s behalf. (Sales Mot. at 13.) Rush responds that even

though GreatBanc was the fiduciary responsible for approving the sale, it was not the only

fiduciary. (Sales Opp. at 15.) Indeed, Neil is inapposite because it addresses a different

alignment: an ESOP had been created, and the Board’s decision was whether to sell the company

to the ESOP, not whether the ESOP should sell the company. Neil, 677 F. Supp. 2d at 1022.

“Generally speaking, the act of creating a plan and decisions leading up to that act are not

fiduciary acts.” Id. By contrast, the actions at issue in this case pertain not to the creation of a

plan but rather decisions leading up to the sale of a plan-owned company.

        There are cases holding that, in some situations, the presence of an independent trustee

whose role is to approve a transaction can ensure that a sale is in the ESOP’s best interests. See

Fish, 2016 WL 5923448; Foster v. Adams & Assocs., Inc., No. 18-cv-02723-JSC, 2020 WL

3639648 (N.D. Cal. July 6, 2020). But those cases address a different ERISA provision, one

which asks whether the ERISA trustee “cause[d] the plan to engage in a transaction.” 29 U.S.C.

§ 1106(a)(1). The presence of an independent trustee to approve a transaction can plausibly

insulate a director from causal liability. But here, the question is whether a fiduciary duty was

breached. This differs materially from the underlying “causation” action in a § 1106(a) claim. An




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independent trustee retained to approve a transaction can insulate the negotiator from liability for

causing the transaction, particularly when the negotiator simply presented a deal to the trustee for

evaluation and asked the independent trustee for approval. But it is less clear that an independent

trustee can do the same regarding a breach that occurred during the shopping process.

        Because the retention of GreatBanc does not, as a matter of law, relieve the Segerdahl

Defendants from liability for any breach during the shopping process, there remains a genuine

question of material fact as to whether Segerdahl Defendants breached a fiduciary duty to the

plan during the sales process. Accordingly, Rush has demonstrated a genuine issue of material

fact as to whether the Segerdahl Defendants adhered to the prudent man standard of care set out

in ERISA.

                               b.      GreatBanc

        In arguing that it did not breach a fiduciary duty, GreatBanc similarly points to its

substantive and procedural prudence during the sales process. As to substantive prudence,

GreatBanc argues that Quad and RRD were not viable partners because they could not pay a

premium for the company as strategic buyers typically do. As a result, the underlying sale

process—which JPMorgan carried out on behalf of the company—was proper. And the

underlying propriety of the sale process, GreatBanc argues, insulates its approval of the sale from

liability.

        It is certainly plausible that Quad and RRD would not be able to pay a premium and thus

their exclusion from the sale process was proper. The Segerdahl Defendants present expert

testimony that both Quad and RRD, despite having engaged in M&A activity in 2014 and 2015,

were no longer in a position to acquire another firm, let alone pay a premium to do so. RRD had

recently announced that it would split into three publicly-owned companies, and Quad was over-




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leveraged. (Decl. of Katelyn Harrell, Ex. B (“Vergamini Dep.”) at 164:7–165:11, Dkt. No. 216-

3.) On the other hand, Rush presents evidence that GreatBanc ignored signs that management

failed to pursue a potentially larger sale because they felt the buyer was a poor strategic fit. (Pl.’s

Resp. to GreatBanc SOF ¶ 17(b).)

       And as to procedural prudence, GreatBanc notes that Segerdahl retained JPMorgan to

shop the company and followed best practices in the retention of the three Outside Directors. It

argues that Segerdahl’s procedural prudence insulates GreatBanc because a prudent process

makes a breach of fiduciary duty impossible. But while hiring consultants—and even following

their advice—is “evidence of prudence, it is not sufficient to entitle defendants to judgment as a

matter of law.” George, 641 F.3d at 799. This is especially so when the scope of the consultants’

independence is limited. (See GRPSAF ¶¶ 1, 5; PRSSF ¶¶ 10–12, 38.)

       To be sure, limiting the search to strategic buyers might have benefits outside the ESOP,

like continued employment for at least some employees. But taking the facts in the light most

favorable to Rush, there is a genuine question of material fact as to whether the sale process was

prudent. Eliminating several possible sale targets raises questions as to whether the shopping

process prioritized the ESOP. And the Court rejected similar arguments in response to

Segerdahl’s motion for summary judgment on the sales claims.

       When viewing the facts in the light most favorable to Rush, a reasonable factfinder could

conclude that GreatBanc rubber-stamped a deal it was given despite knowledge (or willful

ignorance) that it did not represent the best possible return for the ESOP.




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                       3.     Damages

                              a.      Sales Claims

       Finally, the Segerdahl Defendants argue that Rush cannot prove damages, a necessary

element to a fiduciary breach claim under ERISA. Jenkins, 444 F.3d at 924. As support, the

Segerdahl Defendants contend that Rush does not argue that the company should not have been

sold in December 2016, and that he cannot show that another buyer would have paid more for

Segerdahl.

       As to what another buyer might have done, Rush has presented evidence that JPMorgan’s

representative told him and other management that the company could have sold for $320

million but that the Board would not permit it. The Segerdahl Defendants respond that Rush’s

testimony on this point is either a misunderstanding or a fabrication. Certainly, the Segerdahl

Defendants can challenge this evidence at trial, but summary judgment is not the place to weigh

the believability of competing testimony. At the very least, Rush’s evidence regarding the

potential of a $320 million sale creates a genuine issue of material fact as to damages.

                              b.      GreatBanc

       Lastly, GreatBanc argues that Rush fails to prove damages. It argues that there is no

breach without damages, similarly noting that Rush neither contends that Segerdahl should have

sold before December 2016 nor shows that another buyer would have paid more money for

Segerdahl.

       But Rush has presented evidence that Vergamini, the JPMorgan employee in charge of

the Segerdahl shopping process, told Rush and other management that he could have sold the

company to a strategic buyer for $320 million. (SRPSAF ¶ 76.) As discussed in relation to

Segerdahl’s motion, summary judgment is not the appropriate posture for resolving this claim.




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Taking the facts in the light most favorable to Rush, there is a genuine question as to whether

Segerdahl’s sale price would have been higher if the company was shopped to a strategic buyer.

                                                ***

       In sum, for the reasons discussed above, the Court concludes that summary judgment on

Count I must be denied as to GreatBanc. As to the Segerdahl Defendants, however, summary

judgment is granted on Count I as to the diversion claims but denied as to the sales claims.

               B.      Counts II and V

       Defendants also seek summary judgment as to Counts II and V, which are asserted only

against Schneider and Joutras and do not include the Outside Directors. Count II alleges breach

of fiduciary duty and a prohibited transaction regarding Schneider’s post-sale interest in ICV and

Joutras’s payouts pursuant to his SARS award and employment contract. Count V alleges that, as

non-fiduciaries, Schneider and Joutras knowingly participated in breaches of fiduciary duties,

unlawfully profiting as a result. It appears that the breach from which they allegedly benefited is

the diversion of assets. (FAC ¶ 442 (“As a result of the fiduciary breaches and prohibited

transactions described herein, Defendants Schneider and Joutras received millions of dollars that

otherwise would have been paid to the ESOP.”).)

       Yet the Court has dismissed the underlying claims of breach regarding the diversion

claims. That alone supports granting summary judgment—after all, if the payout under Joutras’s

contract and the money that Rush alleged would have otherwise gone to the ESOP is permissible

as a matter of law, Joutras and Schneider cannot have caused any breach to occur as it relates to

those payments. The same is true of Count V, to the extent that it implicates the diversion

claims—if there was no breach, there can be no ill-gotten gains from that breach for these

purposes.




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       But Count II also includes claims relating to the sale itself. (FAC ¶ 416.) The prohibited

transaction claims, for example, appear to arise entirely as sales claims because the sale is the

transaction that Rush alleges to have been prohibited. The Segerdahl Defendants, though, only

seek summary judgment as to Count II with respect to the diversion claims. Thus, Count II

cannot be dismissed in full on this motion—rather, to the extent Ruch asserts claims in Count II

relating to the sale of Segerdahl, it survives the motion. Likewise, Count V appears to assert at

least some claims implicating the sales claims. (See FAC ¶ 442 (“As a result of the fiduciary

breaches and prohibited transactions described herein . . . .”).) The language appears to subsume

sale-related benefits.

       Summary judgment is granted on Counts II and V only to the extent that they implicate

the diversion claims.

               C.        Count III

       Count III alleges that GreatBanc approved a prohibited transaction because it approved

the Segerdahl sale “with actual knowledge that Defendant Schneider would be purchasing

shares, directly or indirectly, from the ESOP.” (FAC ¶ 428.) There are several types of

transactions that are “flatly prohibited” under ERISA. Allen v. GreatBanc Tr. Co., 835 F.3d 670,

674 (7th Cir. 2016). Here, Rush alleges that GreatBanc has violated 29 U.S.C. §1106(a)(1)(A),

which provides that “[a] fiduciary with respect to a plan shall not cause the plan to engage in a

transaction, if he knows or should know that such transaction constitutes a direct or indirect sale

or exchange, or leasing, of any property between the plan and a party in interest.” (FAC ¶ 424.)

       GreatBanc first argues that ERISA’s prohibited transaction rules should not be construed

to cover Schneider’s post-sale investment. It raises the point that Schneider did not buy stock

from the ESOP—the ESOP sold Segerdahl to ICV and then, after the sale, Schneider used some




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of the payout from her SARS award to invest in the post-sale entity. Rush responds that

Schneider “was a co-investor with ICV in the ESOP sale, and purchased shares from the ESOP

during the transaction by rolling her SARS proceeds into the transaction.” (GRPSAF ¶ 26.) Both

parties cite the same capitalization table to reach very different conclusions: GreatBanc

concludes that it shows Schneider investing in a post-sale entity, and Rush concludes that it

shows Schneider, a fiduciary, funding the buyout itself. (Decl. of K. Harrell, Ex. A at 1, Dkt. No.

209-2.) This difference is material because Schneider is the party-in-interest, and if she directly

transacted with the ESOP, the transaction falls within § 406(a).

       Rush goes further, arguing that Schneider purposely negotiated a lower sale price to

allow her to purchase a larger stake in the post-sale entity as well as secure a position as CEO.

For one thing, Rush presents evidence that Schneider did participate—at least to some extent—in

the negotiation of the sale, contrary to GreatBanc’s denial. (Mem. Order & Op. Granting Mot. to

Certify Class at 5, Dkt. No. 188; PRGSF ¶¶ 50–52.) The parties also appear to conflate who

Rush alleges is the party-in-interest. For example, GreatBanc argues that Schneider’s continued

employment after the sale does not “morph ICV into a party-in-interest.” (Defs.’ Reply in

Support of Summ. J. at 15, Dkt. No. 266.) But the FAC alleges that Schneider, not ICV, was the

party-in-interest. (FAC ¶ 425.) Elsewhere, GreatBanc argues that ICV is an unrelated party,

which means that a party-in-interest (Schneider) transacting with it is not forbidden under 29

U.S.C. § 1106(a). (GreatBanc Mot. for Summ. J. at 12, Dkt. No. 207.) But this goes directly to

the inconsistent conclusions drawn by the parties as to the capitalization table, and the Court

declines to resolve that dispute at the summary judgment stage.

       Rush has shown a genuine issue of material fact. He has presented evidence that

Schneider participated in the negotiation process and that she immediately invested in the post-




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sale entity. If the sale price was lower than it could have been, the same dollar value could

purchase a higher percentage interest in the post-sale entity. GreatBanc’s argument is not

sufficient to eliminate any issue of material fact as to whether Schneider, a party-in-interest,

transacted with the ESOP. GreatBanc also has not adequately established that Schneider did not

transact, either directly or indirectly, with the ESOP.

       But ERISA does not prohibit all transactions with a party-in-interest. Rather, if an

“acquisition, sale, or lease is for adequate consideration,” it falls outside the prohibited

transaction rules. 29 U.S.C. § 1108(e). And GreatBanc argues that even if Schneider’s

investment was a prohibited transaction, it was for adequate consideration and therefore

permissible under § 1108(e)(1). The material question is whether the sale of Segerdahl was for

adequate consideration and, secondarily, whether GreatBanc properly relied on the fairness

opinion prepared by Stout. This question is similar to that laid out in the fiduciary breach claim

against GreatBanc in Count I. Both ask whether GreatBanc behaved properly in approving the

sale and relying on the information it was provided, and whether Segerdahl’s sale price was

proper. The Court has denied summary judgment on Count I as to the sales claims. Based on the

analogous analysis here, the Court finds a genuine question of fact regarding the adequacy of

consideration.

                 D.    Count IV

       Count IV asserts a claim for breach of co-fiduciary duty under 29 U.S.C. §§ 1105(a)(1)–

(3). Those provisions make a plan fiduciary liable for a breach by any other fiduciary when any

of three conditions are met: a fiduciary participates in or knowingly conceals an “act or

omission” of another fiduciary with the knowledge that the act or omission is a breach; a

fiduciary enables another fiduciary to commit a breach by failing to comply with § 1104(a)(1); or




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a fiduciary has knowledge of a breach by another fiduciary, unless the fiduciary attempts to

remedy the breach.

       Because Count IV imputes liability to plan fiduciaries if they had knowledge of an

underlying breach, it requires an underlying breach in the first place. No party has presented

evidence sufficient to determine as a matter of law that any Defendant—whether GreatBanc or

one of the Segerdahl Defendants—lacked knowledge of a potential breach, affirmatively did not

enable a potential breach, or attempted to remedy a potential breach. The Court has granted

summary judgment on Counts I and II as to the diversion claims, so there can be no liability on

Count IV for any violations stemming from the diversion claims. But as to Count I’s sales claims

and Count III, the Court has denied summary judgment and found that trial is appropriate. And

as to the portion of Count II that implicates the sale of Segerdahl, Defendants have not sought

summary judgment. As a result, there are still potential breaches of co-fiduciary duties with

respect to Count I’s sales claims, Count II’s sales claims, and Count III. Summary judgment on

Count IV is denied to that extent.

                                         CONCLUSION

       For the foregoing reasons, Defendants’ motions to bar the expert testimony of Daniel

Galente (Dkt. No. 200), Daniel Van Vleet (Dkt. No. 202), and Andrew Stumpff (Dkt. No. 204)

are denied. Rush’s motions to bar the expert testimony of Lee Bloom (Dkt. No. 217) and Mark

Hahn (Dkt. No. 222) are also denied. With respect to summary judgment, GreatBanc’s motion

(Dkt. No. 206) is denied, Segerdahl Defendants’ motion on the sales claims (Dkt. No. 213) is

denied, and Segerdahl Defendants’ motion on the diversion claims (Dkt. No. 210) is granted. By

count, summary judgment is denied as to the sales claims in Count I but granted as to the

diversion claims in that count. Summary judgment is also granted as to the diversion claims in

Count II. Summary judgment is denied on Count III. It is granted on Count IV as to any co-


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fiduciary liability stemming from the diversion claims but denied as to any co-fiduciary liability

stemming from the sales claims or from Count III. And finally, summary judgment is granted on

Count V to the extent it implicates the diversion claims but denied to the extent it implicates the

sales claims.


                                                      ENTERED:



Dated: December 15, 2022                              __________________________
                                                      Andrea R. Wood
                                                      United States District Judge




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